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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division


 UNITED STATES OF AMERICA


                         v.

                                                            Case No. 1:18-cr-83 (TSE)
 PAUL J. MANAFORT, JR.,

                                    Defendant


            NOTICE OF FILING OF GOVERNMENT’S MOTION TO SEAL

       The United States of America, by and through Special Counsel Robert S. Mueller, III, has

this day filed the government’s Motion to Seal, Non-Confidential Memorandum in support thereof,

and Proposed Sealing Order, pursuant to Local Criminal Rule 49(E).


                                                   Respectfully submitted,

                                                   ROBERT S. MUELLER, III
                                                   Special Counsel

Dated: July 17, 2018                               /s/ Andrew Weissmann
                                                   Andrew Weissmann
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                                                   Special Counsel’s Office

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                                                   Washington, D.C. 20530
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                                 CERTIFICATE OF SERVICE


       I hereby certify that on the 17th day of July, 2018, I will cause to be filed electronically the

foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification

of such filing (NEF) to the following:


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